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 1                   IN THE UNITED STATES DISTRICT COURT
 2                          FOR THE EASTERN DISTRICT
 3                              NORTHERN DIVISION
 4
 5
 6        UNITED STATES OF AMERICA,       )
 7                                        )
 8                      Plaintiff,        )
 9                                        )   Docket No. 3:07-cr-42
 10            vs.                        )   Knoxville, Tennessee
 11                                       )   April 30, 2009
 12       TOBY TOBIAS SENTER,             )   1:00 p.m.
 13                                       )
 14                     Defendant.        )
 15
 16
 17                     TRANSCRIPT OF SENTENCING HEARING
 18                  BEFORE THE HONORABLE THOMAS W. PHILLIPS
 19                       UNITED STATES DISTRICT JUDGE
 20
 21
 22       APPEARANCES:
 23       For the Plaintiff:           DAVID JENNINGS, ESQ.
 24       For the Defendant:           BRUCE POSTON, ESQ.
 25
 26
 27
 28
 29       _______________________________________________________
 30                          LYNDA CLARK, CCR, RMR, CRR
 31                       MILLER & MILLER COURT REPORTERS
 32                   12804 Union Road, Knoxville, Tennessee
 33              Phone: (865) 675-1471 / FAX: (865) 675-6398




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 13                               EXHIBITS
 14       NO.      DESCRIPTION                                PAGE
 15       1,       Collective (Prior Convictions)              17
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 27       (Note:   Unless otherwise provided to the court
 28       reporter, all spellings are to the best phonetic
 29       approximation.)




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 1                      This cause came on for hearing on the 30th

 2        day of April, 2009, in the United States District Court

 3        for the Eastern District of Tennessee, Northern

 4        Division, before the Honorable Thomas W. Phillips,

 5        presiding.

 6                      The Court having been duly opened, the

 7        following proceedings were had, to-wit:

 8                     THE COURTROOM DEPUTY:     The United States

 9        District Court for the Eastern District of Tennessee is

 10       now open pursuant to adjournment with the Honorable

 11       Thomas W. Phillips presiding.

 12                    Please, come to order and be seated.

 13                    THE COURT:    Good afternoon, ladies and

 14       gentlemen.

 15                    MR. JENNINGS:     Good afternoon, Your Honor.

 16                    MR. POSTON:     Good afternoon, Your Honor.

 17                    THE COURT:    Madam clerk, if you will call the

 18       next case for us, please.

 19                    THE COURTROOM DEPUTY:     Yes, Your Honor.    We

 20       are here on a sentencing hearing in case 3:07-cr-42,

 21       United States versus Toby Tobias Senter.

 22                    Here on behalf of the government is David

 23       Jennings.

 24                    Is the government ready to proceed?

 25                    MR. JENNINGS:     The government is present and




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 1        ready.

 2                     THE COURT:     Here on behalf of the defendant

 3        is Bruce Poston.

 4                     Is the defendant ready to proceed?

 5                     MR. POSTON:     We're here and ready to go

 6        forward, Your Honor.

 7                     THE COURT:     Okay.   Mr. Senter, this is your

 8        sentencing hearing that's being held pursuant to Rule

 9        32 of the Federal Rules of Criminal Procedure.

 10                    If you would please stand and raise your

 11       right hand for me.

 12                    THE COURTROOM DEPUTY:      Do you solemnly swear

 13       or affirm that you will truthfully answer all questions

 14       asked of you at this time as you shall answer under

 15       God?     If so, please say "I do".

 16                    THE DEFENDANT:     I do.

 17                    THE COURTROOM DEPUTY:      Thank you.   You may be

 18       seated.

 19                    THE COURT:     Mr. Senter, would you please

 20       state and spell for the record your full name.

 21                    THE WITNESS:     Toby Tobias Senter, T-o-b-y,

 22       T-o-b-i-a-s, S-e-n-t-e-r.

 23                    THE COURT:     Okay.   And how old are you,

 24       Mr. Senter?

 25                    THE DEFENDANT:     Thirty-two.




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 1                     THE COURT:   How far did you go in school?

 2                     THE DEFENDANT:   I got my GED, Your Honor.

 3                     THE COURT:   So I take it you have no

 4        difficulty reading or writing.       Is that correct, sir?

 5                     THE DEFENDANT:   No, sir.

 6                     THE COURT:   Okay.   Now, Mr. Senter, on June

 7        the 5th, 2008, a jury found you guilty of the sole

 8        count of the Indictment, charging a violation of 21

 9        United States Code, Sections 846 and 841(a)(1),

 10       Conspiracy to Distribute and Possess with Intent to

 11       Distribute Five Kilograms or More of Cocaine

 12       Hydrochloride.

 13                    The punishment which may be imposed as a

 14       result of your conviction is a mandatory term of life

 15       imprisonment and an eight-million-dollar fine.       There

 16       is also a Special Assessment Fee of $100, which must be

 17       paid in this case as to Count I.

 18                    Mr. Senter, you have been represented in this

 19       case by your counsel, Mr. Bruce Poston.

 20                    Do you want Mr. Poston to represent you for

 21       purposes of your sentencing hearing here this

 22       afternoon?

 23                    THE DEFENDANT:   Yes, Your Honor.

 24                    THE COURT:   And, Mr. Poston, are you willing

 25       to continue to represent Mr. Senter for purposes of




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 1        this sentencing hearing?

 2                   MR. POSTON:     I am, Your Honor.

 3                   THE COURT:    Thank you, Mr. Poston.

 4                   Now, Mr. Senter, a Presentence Investigation

 5        Report has been prepared in this case.         Have you

 6        received a copy of the Presentence Investigation

 7        Report?

 8                   THE DEFENDANT:     Yes, Your Honor.

 9                   THE COURT:    Have you had enough time to go

 10       over the report with your counsel, Mr. Poston?

 11                  THE DEFENDANT:     Yes, sir.

 12                  THE COURT:    Mr. Poston, have you received a

 13       copy of the Presentence Investigation Report?

 14                  MR. POSTON:     We have, Your Honor.

 15                  THE COURT:    Okay.   And I understand that you

 16       have filed objections to the Presentence Investigation

 17       Report, which we will address in just a moment.

 18                  MR. POSTON:     Yes, Your Honor.

 19                  THE COURT:    And, Mr. Jennings, have you

 20       received a copy -- has the government received a copy

 21       of the Presentence Investigation Report?

 22                  MR. JENNINGS:     I have, and I have no

 23       objections to it.

 24                  THE COURT:    Thank you, Mr. Jennings.

 25                  Now, we will need to take up the objections




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 1        that Mr. Poston has filed to the Presentence

 2        Investigation Report.    And the first is an objection to

 3        the defendant's criminal history.

 4                   The government has filed a Notice of

 5        Enhancement, listing four individual convictions for

 6        the purposes of enhancing the defendant's sentence

 7        under 21 United States Code, Section 841(b)(1)(a).

 8                   The first one is on November the 8th, 1995,

 9        in the Criminal Court for Hamblen County, Tennessee,

 10       docket number 95-cr-198; Count I, Sale of More Than One

 11       Half Gram of Cocaine Base; Count II, Sale of Less Than

 12       One Half Gram Cocaine Base; and Count III, Sale of More

 13       Than One Half Gram Cocaine Base.

 14                  Now, those offenses were on different dates:

 15       The first being on February the 24th, 1995, as set

 16       forth in Count I; the second being March the 2nd, 1995,

 17       as set forth in Count II; and the third being April the

 18       18th, 1995, as set forth in Count III.

 19                  Now, in the conviction consisting of only one

 20       count -- the conviction is for a crime committed on or

 21       about Monday, February the 27th, 1995; that is, selling

 22       .3 grams of cocaine base, an amount less than .5 grams.

 23                  Now, Mr. Senter, any challenges to these

 24       prior convictions which are not made before the

 25       sentence is imposed may not be raised thereafter to




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 1        attack the sentence.

 2                     Now, the defendant -- you have through your

 3        attorney filed a motion objecting to these prior

 4        convictions, but I'm required by statute to inquire of

 5        you whether you affirm the prior convictions as

 6        previously stated by the Court?

 7                     THE DEFENDANT:     No, Your Honor.

 8                     THE COURT:    Any response?

 9                     THE DEFENDANT:     No, Your Honor.

 10                    THE COURT:    And, Mr. Poston, we need to

 11       proceed then with proof as to the prior convictions in

 12       this case.

 13                    And I understand, Mr. Jennings, that you will

 14       have witnesses to testify.

 15                    MR. JENNINGS:     I do, Your Honor.

 16                    THE COURT:    If you'd have them please stand

 17       at this time and be sworn.

 18                    THE COURTROOM DEPUTY:     Would you please raise

 19       your right hand.

 20                    Do you solemnly swear or affirm that the

 21       testimony you will give in the matter before the Court

 22       today will be the truth, the whole truth, and nothing

 23       but the truth so help you God.        If so, please say "I

 24       do".

 25                    MS. BANNER:     I do.




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 1                   AGENT MONROE:     I do.

 2                   THE COURTROOM DEPUTY:       Thank you.   You may be

 3        seated.

 4                   THE COURT:     Thank you.     Mr. Jennings, you may

 5        proceed.

 6                   MR. JENNINGS:     Your Honor, the government's

 7        first witness is Blenda Banner.

 8                   THE COURT:     All right.     Ms. Banner, if you

 9        will please come on up and have a seat.

 10                               BLENDA BANNER,

 11                   having been first duly sworn, was

 12                   examined and testified as follows:

 13                            DIRECT EXAMINATION

 14       BY MR. JENNINGS:

 15       Q     Good afternoon, ma'am.     Would you state and spell

 16       your name for the court reporter.

 17       A     Blenda Banner, B-l-e-n-d-a, B-a-n-n-e-r.

 18       Q     And, ma'am, by whom are you employed?

 19       A     The State of Tennessee Board of Probation &

 20       Parole.

 21       Q     And how long have you been so employed?

 22       A     Thirteen years.

 23       Q     Ms. Banner, I would take you back to the mid '90s

 24       and ask if you were employed on or after November the

 25       8th of 1995 as a state probation officer?




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  1        A    Yes.

  2        Q    And in what county were you assigned?

  3        A    Hamblen County at that time.

  4        Q    All right.   And did there come a time when you

  5        undertook the supervision of an individual by the name

  6        Toby Tobias Senter?

  7        A    Yes.

  8        Q    And did you as a result of supervising him create

  9        records -- or did the Department of Corrections create

 10        records concerning his prior criminal history?

 11        A    Yes.

 12        Q    And as a result of beginning the supervision of

 13        this individual did you meet face-to-face with him on

 14        occasion?

 15        A    Yes.

 16        Q    And in fact did you bring what's -- what there is

 17        of your file from back in that time frame concerning

 18        the individual named Toby Tobias Senter?

 19        A    Yes.

 20        Q    Have you compared photographs in that file of the

 21        person you supervised to the individual seated here to

 22        my left in the tan jumpsuit?

 23        A    Yes.

 24        Q    And is the person you supervised the defendant,

 25        Toby Tobias Senter?




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  1        A    Yes.

  2        Q    And do you know that from having met face-to-face

  3        with him on occasion back in that time frame?

  4        A    Yes.

  5        Q    And do you have records in your file indicating

  6        the case number, the relevant identifying data such as

  7        Social Security number and date of birth and what he

  8        was convicted of and the sentences that he received?

  9        A    Yes.

 10                    MR. JENNINGS:   And, Judge, if I could -- I

 11        have not turned the presenter on, but if I could

 12        approach the witness just briefly to have her identify

 13        some documents.

 14                    THE COURT:   You may.

 15                    MR. JENNINGS:   I've shown these to

 16        Mr. Poston.

 17        BY MR. JENNINGS:

 18        Q    Ms. Banner, I'm showing you what I have marked as

 19        Government Exhibit 1 Collective.

 20             Would you look at the four pieces of paper I've

 21        put in front of you, please.

 22        A    (Looking.)

 23        Q    Do you recognize those documents?

 24        A    Yes.

 25        Q    Did you review those with me prior to the




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  1        commencement of this hearing this afternoon?

  2        A    Yes.

  3        Q    And did you compare some of the matters contained

  4        in these documents in Government Collective Exhibit 1

  5        to your probation supervision file of the defendant?

  6        A    Yes.

  7        Q    First of all, did you find the record of a

  8        conviction with the case number 95-cr-207?

  9        A    Yes.

 10        Q    And is that conviction in the name of Toby Senter?

 11        A    Yes.

 12        Q    And does it reflect the same date of birth on this

 13        Judgment on page 1 of Government Collective Exhibit 1

 14        as is reflected in your records from your file?

 15        A    Yes.

 16                    MR. JENNINGS:   And, Judge, I'm trying not to

 17        put those particulars into the record for privacy

 18        reasons but --

 19                    THE COURT:   Very well.

 20                    MR. JENNINGS:   -- and that's why I'm being a

 21        little vague about this.

 22        BY MR. JENNINGS:

 23        Q    Do your records also contain Social Security

 24        numbers for the defendant?

 25        A    Yes.




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  1        Q    And what does your file show his Social Security

  2        number to be?

  3        A    XXX-XX-XXXX.

  4        Q    All right.     With regard to the first page of

  5        Government Collective Exhibit 1, is that the same

  6        Social Security number with the exception of one digit?

  7        A    Yes.

  8        Q    And does that appear from looking at the entire

  9        Social Security number to just have a mistake in the

 10        Social Security number on the --

 11                     MR. POSTON:    Objection to the leading,

 12        calling for an opinion.

 13                     THE COURT:    Well, it is leading, but, of

 14        course, this is not really subject to the rules of

 15        evidence.     So I'll allow counsel to continue.

 16                     You may continue, Mr. Jennings.

 17        BY MR. JENNINGS:

 18        Q    Okay.     And again with regards to the Judgment in

 19        case 95-cr-207, does it indicate that the defendant was

 20        convicted of the C felony of Sale of a Schedule

 21        II Controlled Substance in Hamblen County, Tennessee?

 22        A    Yes.

 23        Q    And does it indicate the date of offense of

 24        February 27, 1995?

 25        A    Yes.




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  1        Q    And does it indicate that the Judgment was entered

  2        on November 8th of 1995?

  3        A    Yes.

  4        Q    Turning to the next three pages of Government

  5        Collective Exhibit 1, again are each of these -- do all

  6        three of these concern three counts in the same

  7        indictment?

  8        A    Yes.

  9        Q    And is the case number 95-cr-198?

 10        A    Yes.

 11        Q    Again does it indicate the defendant on each of

 12        these is Toby Senter?

 13        A    Yes.

 14        Q    And on each of these does it indicate the same

 15        date of birth and Social Security number that you've

 16        previously identified as being that of the defendant

 17        Toby Senter?

 18        A    Yes.

 19        Q    All right.   With regard to Count I, does the

 20        Judgment indicate that the date of the offense is

 21        February 24, 1995 --

 22        A    Yes.

 23        Q    -- in Hamblen County, Tennessee?

 24        A    Yes.

 25        Q    And was he convicted of a B felony, and does it




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  1        read Sale of Scheduled II Controlled Substance?

  2        A    Yes.

  3        Q    And does it indicate the Judgment was entered on

  4        November 8, '95?

  5        A    Yes.

  6        Q    And with regard to --

  7             Let's go back real quickly to the first page in

  8        95-cr-207.     Does it indicate that he received a

  9        three-year sentence on the C felony that we talked

 10        about earlier?

 11        A    Yes.

 12        Q    With regard to Count I of the other case,

 13        95-cr-98, does it indicate that he was sentenced in

 14        that case to eight years in the Tennessee Department of

 15        Corrections?

 16        A    Yes.

 17        Q    With regard to Count II, again is it the same case

 18        number?

 19        A    Yes.

 20        Q    Again same defendant, same date of birth, and same

 21        Social?

 22        A    Yes.

 23        Q    And does it indicate that he was convicted of a C

 24        felony of Sale of Scheduled II Controlled Substance?

 25        A    Yes.




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  1        Q       Does it indicate the date of the offense in that

  2        count being March 2, 1995 --

  3        A       Yes.

  4        Q       -- in Hamblen County, Tennessee?

  5        A       Yes.

  6        Q       And does it indicate that he was sentenced to

  7        three years in the Tennessee Department of Corrections?

  8        A       Yes.

  9        Q       And again was the Judgment entered on November 8,

 10        1995?

 11        A       Yes.

 12        Q       And finally with regard to Count III, again is

 13        this with regard to case number 95-cr-198?

 14        A       Yes.

 15        Q       And does it indicate the defendant's name is Toby

 16        Senter with the same date of birth and Social Security

 17        number as the previous three Judgments?

 18        A       Yes.

 19        Q       And does it indicate that the defendant was

 20        convicted of the Class B felony of sale of Schedule

 21        II Controlled Substance?

 22        A       Yes.

 23        Q       And was the offense date April 18, 1995, in

 24        Hamblen County, Tennessee?

 25        A       Yes.




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  1        Q    And does the Judgment indicate that he was

  2        sentenced to eight years in the Tennessee Department of

  3        Corrections?

  4        A    Yes.

  5        Q    And finally does it indicate that the Judgment was

  6        entered on November 8, 1995?

  7        A    Yes.

  8                     MR. JENNINGS:     And, Your Honor, at this time

  9        I would offer Government Collective Exhibit 1 into

 10        evidence as Collective 1.

 11                     THE COURT:     It will be received.

 12                     (Exhibit No. 1 was admitted.)

 13                     MR. JENNINGS:     Pass the witness for

 14        cross-examination.

 15                     THE COURT:     Okay.   Cross-examination,

 16        Mr. Poston.

 17                     MR. POSTON:     Thank you, Your Honor.

 18                            CROSS-EXAMINATION

 19        BY MR. POSTON:

 20        Q    Good afternoon, Ms. Branner -- Right?

 21        A    Banner.

 22        Q    "Banner".     Sorry.

 23             How are you?

 24        A    Fine.

 25        Q    Good.




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  1             So you think that you supervised Mr. Senter back

  2        almost 20 years ago, right?

  3        A    Twelve years.

  4        Q    Twelve years?

  5        A    Uh-huh.

  6        Q    '95 -- Oh, that's why I'm a lawyer.

  7             Back then how many people were under your

  8        supervision?

  9        A    Maybe 70.

 10        Q    Seventy.     Do you remember what he looked like then

 11        versus now?

 12        A    Yes.

 13        Q    What did he look like?

 14        A    He was thinner, and he didn't have a beard.      I

 15        remember him.

 16        Q    How many times did you meet with him?

 17        A    Not very many because he got in trouble.

 18        Q    Okay.     Well, do you recall how many visits?

 19        A    No.

 20        Q    More than two?     Two or less?

 21        A    More than two.

 22        Q    More than two, okay, over the one-year period of

 23        time or less than that?

 24        A    It was less than a year that I supervised him.

 25        Q    And Mr. Jennings asked you some questions about




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  1        the Social Security numbers.        And is it true that they

  2        are not identical, that there's a -- they're not the

  3        same, right?

  4        A    Just on that one count.

  5        Q    Okay.     And that's the case 207, correct?

  6        A    I think it was 207, yes.

  7        Q    Okay.     Two different Social Security numbers --

  8        A    Actually the records I've got has both on there

  9        -- it has both socials.

 10                     MR. POSTON:     Thank you.

 11                            REDIRECT EXAMINATION

 12        BY MR. JENNINGS:

 13        Q    All right.     Just one brief question with regard to

 14        whether you remember him or not.

 15             Did you happen to see an article in a newspaper in

 16        2007 concerning this defendant?

 17        A    Yes, I did.

 18        Q    Was his picture in that newspaper article?

 19        A    Probably.     So I don't lie, I don't think I saw a

 20        picture at that time.

 21        Q    But did it register with you when you read this

 22        newspaper article about his arrest in 2007 that it was

 23        the guy you had supervised back in the mid '90s?

 24        A    Yes.

 25                     MR. JENNINGS:     Nothing further.




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  1                     THE COURT:    Thank you, Mr. Jennings.

  2                     Anything further, Mr. Poston?

  3                     MR. POSTON:     No, Your Honor.

  4                     THE COURT:    You may come down, Ms. Banner.

  5                     MR. JENNINGS:     May she be permanently

  6        excused, Your Honor?       She missed lunch trying to find

  7        us today.

  8                     THE COURT:    Any objection, Mr. Poston?

  9                     MR. POSTON:     No objection.

 10                     THE COURT:    You may be excused, Ms. Banner.

 11                     (The witness was excused.)

 12                     THE COURT:    Okay.   Do you have any additional

 13        evidence?

 14                     MR. JENNINGS:     Not on this issue, Judge.

 15        Agent Monroe's testimony will be on the other

 16        objections.

 17                     (A discussion was held off the record.)

 18                     THE COURT:    Okay.   Did you want to make a

 19        statement?

 20                     MR. JENNINGS:     I was just asking for a --

 21        just two seconds to explain to her how to get back to

 22        my office.

 23                     THE COURT:    Sure.

 24                     (A discussion was held off the record.)

 25                     MR. JENNINGS:     Thank you.




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  1                    THE COURT:     Okay.   Now, let's continue with

  2        the testimony of the agent, please.

  3                    MR. JENNINGS:     Okay.     Your Honor, this is not

  4        on the issue of the prior convictions.          This is on the

  5        objections that he's filed to the presentence

  6        calculations.

  7                    THE COURT:     Very well.     Let's proceed.

  8                    MR. JENNINGS:     Call Special Agent Greg

  9        Monroe.

 10                    THE COURT:     And, for the record, the Court

 11        notes that the copies of the prior convictions of the

 12        defendant are certified by the Circuit Court clerk for

 13        Hamblen County, Tennessee.

 14                    The certifications demonstrate that the

 15        official seal of the county was affixed thereto on 12

 16        December, 2008.     Yes.

 17                    You may continue.

 18                    MR. JENNINGS:     Thank you.

 19                            GREG MONROE,

 20                  having been previously sworn, was

 21                  examined and testified as follows:

 22                        DIRECT EXAMINATION

 23        BY MR. JENNINGS:

 24        Q    State your name and spell it for the court

 25        reporter, please.




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  1        A       It's Greg Monroe, G-r-e-g, M-o-n-r-o-e.

  2        Q       And by whom are you employed?

  3        A       I'm employed by the Tennessee Bureau of

  4        Investigation, assigned to DEA as a Task Force Agent.

  5        Q       And how long have you been on the DEA Task Force?

  6        A       Since approximately 2001, 2002, I guess.

  7        Q       All right.    I want to direct your attention back

  8        to the early months of 2007 and ask if you were

  9        assigned to the DEA Task Force at that time?

 10        A       Yes, I was.

 11        Q       And were you the case agent in this case, that is,

 12        United States versus Toby Senter -- in the case that

 13        went to the trial in this courtroom back in June of

 14        2008?

 15        A       Yes.

 16        Q       And did you sit through that entire trial and did

 17        you in fact testify during that trial?

 18        A       Yes, I did.

 19        Q       And were you the lead agent in charge of the

 20        investigation of this defendant and other

 21        co-conspirators in late 2006 into 2007?

 22        A       Yes.

 23        Q       And as the Court has heard, did this eventually

 24        become a wiretap investigation?

 25        A       It did.




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  1        Q    And were the wiretaps of the defendant's phones

  2        essentially between February and early April of '07?

  3        A    Yes.

  4        Q    And did it involve a total of four phones I

  5        believe?

  6        A    Yes.

  7        Q    I want to move you to late in the investigation,

  8        that is, toward the end of March and into the first

  9        week of April, and ask if you were monitoring the

 10        defendant's telephone calls that were subject to the

 11        wiretap on a daily basis?

 12        A    Yes.

 13        Q    And did there come a time around the 3rd, 4th and

 14        5th of April when you were hearing calls that indicated

 15        the defendant and other co-conspirators were discussing

 16        a trip to Atlanta to buy kilograms of cocaine?

 17        A    Yes.

 18        Q    And did there come a time late in that week on

 19        Friday in particular where you heard a particular call

 20        between the defendant and an individual by the name of

 21        Larry Pruitt (phonetic) or Bear?

 22        A    Yes.

 23        Q    And do you recall that that telephone conversation

 24        that was captured between those two individuals was

 25        played during the trial of this case?




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  1        A    Yes.

  2        Q    And would you refresh the Court's memory on the

  3        essential content of that call, what was being

  4        discussed, and what it led you to do.

  5        A    Basically the conversation happened where

  6        Mr. Senter had called Bear Pruitt and informed him that

  7        he had been robbed of an amount of currency.         And he

  8        was trying to find out what happened to his money, and

  9        he was trying to borrow more money.

 10        Q    All right.      Now, do you remember him claiming that

 11        he was down --

 12                     MR. POSTON:     Your Honor, I think we're

 13        leading again.      Objection.

 14                     THE COURT:    Well, we are.

 15                     MR. JENNINGS:     I'll rephrase it, Your Honor.

 16                     THE COURT:    Counsel, let's take a ten-minute

 17        recess.     Let me see counsel in chambers for just a

 18        moment.     Okay.

 19                     THE COURTROOM DEPUTY:     All rise.   The Court

 20        stands in recess.

 21                     (A recess was taken.)

 22                     THE COURTROOM DEPUTY:     All rise.   This Court

 23        is again in session with the Honorable Thomas W.

 24        Phillips presiding.

 25                     Please, come to order and be seated.




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  1                   THE COURT:   Okay.   I guess we need to address

  2        the question of the enhancements due to the defendant's

  3        prior convictions.

  4                   Mr. Jennings, you may proceed.

  5                   MR. JENNINGS:   Your Honor, it's the

  6        government's position that we have proven beyond any

  7        reasonable doubt that the four felony drug convictions

  8        contained in Government Collective Exhibit 1 are

  9        previous convictions of the defendant Toby Senter.

 10                   The probation officer stated unequivocally

 11        that this is the individual she supervised on those

 12        four convictions.

 13                   It's perfectly clear from those Judgments

 14        that those occurred on different dates between February

 15        and April of 1995, they were clearly separate and

 16        distinct felony drug offenses, and that he is subject

 17        to the enhancements under 841(b), having more than --

 18        having two or more prior felony drug convictions,

 19        having been convicted of a (b)(1)(A) offense; that is,

 20        a conspiracy involving more than five kilograms.     The

 21        only authorized sentence under the law is one of life.

 22                   The defendant's attorney has filed a lengthy

 23        memorandum urging this Court to not impose that, to

 24        analyze the sentencing under the 3553(a) factors and

 25        basically arguing that those factors in Booker trump




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  1        the statutory mandatory minimums, if I can use that

  2        word.

  3                   As I stated in my response to his Sentencing

  4        Memorandum, which I filed on March 12th of 2009, I

  5        cited to the Court the case of United States v.

  6        Higgins, a Sixth Circuit Opinion, which was handed down

  7        February 26th of this year.

  8                   In Higgins, as I said in my memorandum, the

  9        Sixth Circuit made once again clear that, along with

 10        other circuits in this country, the Sixth Circuit

 11        clearly held that 3553(a) factors do not override the

 12        penalty provisions of Section 841(b), and the Court

 13        does not need to even get to the issue of the

 14        reasonableness of a life sentence under 3553(a) or

 15        Booker and its progeny, and that the Court has no

 16        authority to pose any sentence other than one of life

 17        under the evidence in this record.

 18                   THE COURT:    Thank you, Mr. Jennings.

 19                   Mr. Poston, your position.

 20                   MR. POSTON:    Thank you, Your Honor.

 21                   Your Honor please, in terms of the proof the

 22        government put on regarding the prior convictions, two

 23        points:   One, we would concede that the current Sixth

 24        Circuit authority does allow for the judge and not a

 25        jury to make that determination for sentencing




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  1        purposes.

  2                    And as the Court knows, in our memorandum we

  3        have preserved that issue, should that change, along

  4        with the appendere (phonetic) line where a jury would

  5        be required to find beyond a reasonable doubt for

  6        enhancements, which take a sentence beyond a statutory

  7        maximum.    So I think we've preserved the issue.   We

  8        have no proof otherwise.

  9                    And Mr. Jennings has currently stated the law

 10        in terms of the prior convictions.

 11                    Number two, though, we would put out, as we

 12        did in the Sentencing Memorandum, which is separate

 13        from our legal memorandum -- and that basically says

 14        that this defendant, Toby Senter, at the age of 18 has

 15        four separate felony drug convictions, that the total

 16        drugs was 1.5 grams.

 17                    And to quantify that, Your Honor, that's

 18        about a pencil -- the eraser on the tip of a pencil,

 19        1.5 grams, at 18 over a couple-month period of time.

 20        And we note that because it will tie in with the other

 21        memorandum that we filed in terms of proportionality,

 22        due process, all the other things that we cite, that

 23        the enhancing prior convictions are what would be in a

 24        common day use almost a casual exchange.     We're talking

 25        about 20- and 30-dollar purchases.




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  1                   So that's my point on the prior convictions.

  2        I'm not going to belabor the Court -- The Memorandum

  3        itself is 39 pages, not counting the Sentencing

  4        Memorandum.

  5                   In essence what we're saying -- and

  6        Mr. Jennings correctly summarized it -- number one,

  7        that when 3553 came into being -- it supersedes the

  8        mandatory minimum, and it does because of the language

  9        that it put in, that it actually refers to the fact

 10        that, notwithstanding other statutes, there is no such

 11        language in 841.   And, therefore, they're inconsistent.

 12                   But Congress knows how to put in language

 13        when they want, and we all know that ruling.     And so on

 14        that basis we're saying that 3553(a) would trump.

 15                   Now, it hadn't up until the time that we

 16        started to get Booker and all those progeny.     I mean

 17        how many years did this Court and all of us stand here

 18        and believe that the guidelines were mandatory?     Over

 19        two decades.   And then in one swoop of a pen we found

 20        out that, no, they weren't.

 21                   And our point is that we don't believe that

 22        841 -- 21 U.S. Code 841 is applicable because Congress

 23        superseded it by 18 U.S. Code 3553(a), which then

 24        became the overriding way that a Court should sentence.

 25        And that is to use the seven factors that determine a




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  1        punishment that is reasonable but no more lengthy than

  2        needs to be.    That would get back to our four-prior-

  3        convictions-for-1.5-grams argument.

  4                    So that's point number one.    It's laid out

  5        there.    I'm not going to belabor it.    The Court has

  6        read it I'm sure in depth.

  7                    The other argument -- And then also we have

  8        the point that the rule of lenity would require that

  9        when it's a tie -- as the Court knows, if there's any

 10        doubts and there's conflicting language, then the Court

 11        has to rule -- Lenity requires that it then defer to

 12        the defendant in its interpretation.

 13                    The other issues briefly were that the

 14        mandatory minimums -- the mandatory life sentences in

 15        841 violate both due process and equal protection.         And

 16        I've cited the cases that we feel back that up.      They

 17        do over punish.    They do negatively affect a rational

 18        sentencing system in their application.

 19                    They also -- The mandatory minimums -- You

 20        know, they put in the government's hands entirely too

 21        much power as we have seen.    They transferred

 22        sentencing power to prosecutors and away from the

 23        Courts.    And they have taken away from the Courts, and

 24        in direct violation of 3553, the chance for the Court

 25        to individualize sentencing based on the seven factors




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  1        that the Court always looks at to determine what

  2        sentence would be fair for a particular person.

  3                   Based on that, and then the cruel and unusual

  4        punishment in terms of a life sentence -- Once again

  5        going back to an 18-year-old having a total of four

  6        convictions for 1.5 grams, or to put it differently for

  7        an eraser's worth of crack, is now facing a life

  8        sentence, we feel that certainly falls under a

  9        violation of both proportionality and cruel and unusual

 10        punishment.

 11                   So, Your Honor, we would rely on the

 12        memorandums we filed with this Court.    I think our

 13        Sentencing Memorandum asked the Court to apply 3553.

 14        We gave Mr. Senter's background, the discussions on the

 15        convictions.   And we feel that a sentence in the range

 16        of 15 to 20 years is far more appropriate and is all

 17        that is needed, given his conviction for the five

 18        kilos.

 19                   My final point, by the way, is in terms -- I

 20        do not withdraw but we have on record that in the

 21        Presentence Report there are two more objections.      One

 22        is to the use of the two level enhancement for a gun.

 23        That's something separate.    And the other is the

 24        application of the so-called murder statute in terms of

 25        the sentencing guidelines.




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  1                   I think the Court is facing the issue of

  2        mandatory minimums under the law, but I'd just point

  3        out to the Court that if we ever had to get to that, we

  4        are objecting to those two things.

  5                   THE COURT:    Thank you, Mr. Poston.

  6                   Mr. Jennings.

  7                   MR. JENNINGS:    Just very briefly, Your Honor.

  8                   I believe that I thoroughly addressed the

  9        other arguments Mr. Poston made of disportionality,

 10        equal protection, violation of due process, cruel and

 11        unusual punishment.     I set forth the cases that

 12        discount those arguments.

 13                   And I fully understand what Mr. Poston wants

 14        the law to be, but Higgins is a very recent

 15        reaffirmation of what the law is.     And all the

 16        government is doing is asking the Court to follow the

 17        law.

 18                   And I will agree with Mr. Poston -- Well, I

 19        will say in response to the last remark he made that if

 20        the Court does in fact impose the mandatory minimum

 21        sentence of life, then obviously the two objections

 22        that he's preserved in his pleadings are basically

 23        moot.

 24                   THE COURT:    Thank you, Mr. Jennings.

 25                   Well, counsel, first of all, let me




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  1        compliment you on your excellent briefs that you have

  2        filed on this issue.   Anyone wanting to understand the

  3        controversy over mandatory minimum sentences would be

  4        well-advised to read the briefs that you have filed

  5        because you have covered all of the bases.

  6                   And I think that you have done an excellent

  7        job with analyzing the conflicting positions of the two

  8        opposite camps.

  9                   But the fact of the matter is this Court is a

 10        part of the Sixth Circuit Court of Appeals, and the

 11        Sixth Circuit Court of Appeals has made it very clear

 12        first in United States versus Branch and then again in

 13        United States versus Higgins that neither Booker nor

 14        Kimbrough altered the validity of the minimum mandatory

 15        sentencing provisions in section 841(b) or the

 16        exceptions to those provisions found in 18 United

 17        States Code Section 3553(f).

 18                   The end result of all of that is the law of

 19        the land in the Sixth Circuit at this point is that

 20        Congress did not change the law in establishing the

 21        seven factors under 3553(a), and mandatory minimums as

 22        established by Congress still control.

 23                   Therefore, this Court has no discretion but

 24        to provide that the mandatory minimum be enforced in

 25        this case, assuming that the government has indeed




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  1        complied with its requirements and with its obligations

  2        under the law.

  3                   In that regard the Court finds that the

  4        government has provided proper notice of prior

  5        convictions pursuant to 21 United States Code, Section

  6        851(a).

  7                   The prior felony drug convictions noticed by

  8        the government are valid and have been proven by

  9        certified copies of the Judgments as well as the

 10        testimony of the defendant's prior probation officer

 11        with the State of Tennessee, Blenda Banner.

 12                   Moreover, the Court finds that the penalties

 13        under 21 United States Code, Section 841(b)(1)(a), are

 14        Constitutional and binding on the Court.

 15                   And, of course, the most recent decision of

 16        the United States Court of Appeals for the Sixth

 17        Circuit in United States versus Higgins decided this

 18        year -- Branch was decided in 2008.    Higgins reaffirms

 19        Branch in 2009 and established that the statutory

 20        minimums -- mandatory minimums were not affected by

 21        Booker or Kimbrough or by the decision of the Supreme

 22        Court in those Supreme Court decisions to apply the

 23        3553(a) factors in setting sentences in District

 24        Courts.

 25                   Accordingly, the defendant's motion objecting




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  1        to the government's application for enhanced penalties

  2        is denied.

  3                     The Court has, therefore, determined that the

  4        defendant is subject to increased punishment by reason

  5        of prior convictions; namely, a mandatory minimum life

  6        sentence under 21 United States Code,

  7        Section 841(b)(1)(A).        And the Court will, therefore,

  8        proceed to sentencing thereunder as required by 21

  9        United States Code, Section 851(d).

 10                     Now, Mr. Jennings, you indicated that the

 11        government's position in regard to the other objections

 12        to the Presentence Investigation Report contained in

 13        paragraphs 22 and 23 are now moot.        Is that correct?

 14                     MR. JENNINGS:     That is correct, Your Honor.

 15                     And obviously I will state for the record

 16        that we expect were this case ever to be remanded for

 17        resentencing that we could revisit those issues.

 18                     But I do believe under the Court's stated

 19        position they are moot and would not be worthy of the

 20        Court's time to rule upon at this time.

 21                     THE COURT:    Mr. Poston, the record will be

 22        clear that your objections to paragraphs 22 and 23 will

 23        be maintained for the record in this case.

 24                     MR. POSTON:     Thank you, Your Honor.

 25                     THE COURT:    Now, pursuant to the Court's




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  1        determination as to the prior convictions and the

  2        government's decision that the other factors are moot,

  3        it is the finding of the Court that the defendant's

  4        basic offense level at this point is 36.

  5                     There is a two-point enhancement for

  6        obstruction of justice, which will equal an offense

  7        level in this case of 38, and the defendant's criminal

  8        history category is Roman numeral V.

  9                     Now, Mr. Poston, would you like to make any

 10        additional remarks on behalf of the defendant before I

 11        set his sentence in this case?

 12                     MR. POSTON:   Actually, Your Honor, yes.

 13                     One, we would ask the Court to recommend FCIs

 14        at either Lexington or Manchester, if applicable; or if

 15        not, then the nearest FCI to this area.

 16                     And, secondly, to explain to the Court that

 17        given the nature of this case and the sentence,

 18        Mr. Senter would thank the Court, and even the

 19        government, for its conduct during this trial.      I mean

 20        he appreciated having his trial.

 21                     But given the fact that, you know, we will be

 22        appealing this and he has a state charge still pending,

 23        I've advised him, and he's agreed, that this would not

 24        be the appropriate time for him to elocute or address

 25        the Court.




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  1                     THE COURT:   Very well, Mr. Poston.     I

  2        appreciate your assistance to the Court, and I

  3        understand the defendant's position in that regard.

  4                     Mr. Jennings, anything --

  5                     Well, first of all, I need to ask,

  6        Mr. Senter --

  7                     That is correct, Mr. Senter?    You do not wish

  8        to make a statement to the Court at this time?

  9                     THE DEFENDANT:    Yes, Your Honor.

 10                     THE COURT:   Thank you, Mr. Senter.

 11                     Mr. Jennings, do you wish to make any

 12        comments on behalf of the government?

 13                     MR. JENNINGS:    I do not.

 14                     THE COURT:   Thank you, Mr. Jennings.

 15                     Counsel, we'll take a brief recess and we'll

 16        reconvene in about ten minutes.

 17                     THE COURTROOM DEPUTY:    All rise.    This

 18        Honorable Court stands in recess.

 19                     (A recess was taken.)

 20                     THE COURTROOM DEPUTY:    All rise.    This Court

 21        is again in session with Honorable Thomas W. Phillips

 22        presiding.

 23                     Please, come to order and be seated.

 24                     THE COURT:   Counsel, I would at this time

 25        state the sentence, but I'll give you an opportunity to




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  1        file your objections to the sentence before it's

  2        actually imposed in this case.

  3                   The Court has considered the nature and

  4        circumstances of the offense, the history and

  5        characteristics of the defendant, and the Advisory

  6        Guidelines ranges as well as the other factors listed

  7        in Title 18 United States Code, Section 3553(a), and

  8        also the requirements set forth in 21 United States

  9        Code, Section 841(b)(1)(a).

 10                   Pursuant to the Sentencing Reform Act of

 11        1984, it is the Judgment of the Court that the

 12        defendant is hereby committed to the custody of the

 13        Bureau of Prisons for a term of imprisonment of life.

 14                   This is the mandatory term of imprisonment

 15        required by the statute.    It is felt that this sentence

 16        will afford adequate deterrence and provide just

 17        punishment.

 18                   The Court will recommend that the defendant

 19        receive 500 hours of substance abuse treatment and

 20        training as a part of the Bureau of Prison's

 21        Institution Residential Drug Abuse Treatment Program.

 22                   Should the defendant be released, he shall be

 23        placed on supervised release for a term of ten years.

 24                   Within 72 hours of release from the custody

 25        of the Bureau of Prisons the defendant shall report in




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  1        person to the probation office in the district to which

  2        he has been released.

  3                   While on supervised release the defendant

  4        shall not commit another federal, state or local crime,

  5        shall comply with the standard conditions that have

  6        been adopted by this Court and Local Rule 8310, and

  7        shall not illegally possess a controlled substance.

  8                   The defendant shall not possess a firearm,

  9        destructive device, or any other dangerous weapon.

 10                   The defendant shall cooperate in the

 11        collection of DNA as directed by his probation officer.

 12                   In addition, the defendant shall comply with

 13        the following special conditions:    The defendant shall

 14        participate in a program of testing and/or treatment

 15        for drug and/or alcohol abuse as directed by his

 16        probation officer until such time as he has been

 17        released from the program by the probation officer.

 18                   Title 18 United States Code Sections 3565(b)

 19        and 3583(g) require mandatory revocation of supervised

 20        release for possession of a controlled substance or a

 21        firearm or for refusal to comply with drug testing.

 22                   Pursuant to Title 18 United States Code

 23        Section 3013 the defendant must pay a Special

 24        Assessment Fee in the amount of $100, which shall be

 25        due immediately.




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  1                   The Court finds that the defendant does not

  2        have the ability to pay a fine in this case, and the

  3        Court will accordingly waive the fine in this matter.

  4                   It is further ordered that the defendant be

  5        remanded to the custody of the Attorney General pending

  6        designation by the Bureau of Prisons.

  7                   And the Court will recommend that the

  8        defendant be placed in the Bureau of Prison's facility

  9        located in Manchester or Lexington, Kentucky.

 10                   Mr. Poston, I will give you an opportunity to

 11        state your objections to the sentence for the record.

 12                   MR. POSTON:     Your Honor please, as contained

 13        in our briefs and prior discussions, we feel that the

 14        Court does not have to impose the mandatory life

 15        sentence under 3553(a).

 16                   THE COURT:    Thank you, Mr. Poston.

 17                   Mr. Jennings, does the government have any

 18        objection to the sentence as previously read and stated

 19        by the Court?

 20                   MR. JENNINGS:     No, Your Honor.

 21                   THE COURT:    Very well.   Then the sentence

 22        shall be imposed as previously read and stated by the

 23        Court.

 24                   The Court finds that a sentence of life in

 25        this case is sufficient but not greater than necessary




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  1        to comply with the purposes of Section 3553(a) as well

  2        as the requirements of 21 United States Code Section

  3        841(b)(1)(a).

  4                   The Court has considered the nature and

  5        circumstances of the offense as well as the history and

  6        characteristics of the defendant.

  7                   The instant offense involved the distribution

  8        of multiple kilograms of cocaine into the East

  9        Tennessee area.

 10                   With regard to the defendant's history and

 11        characteristics, the defendant has a lengthy criminal

 12        history beginning at the age of 16.    This criminal

 13        history includes multiple felony drug convictions and

 14        assault arrests.

 15                   The Court has previously determined that the

 16        prior felony drug convictions noticed by the government

 17        are valid and accordingly the Court has imposed the

 18        statutory penalty under 21 United States Code Section

 19        841(b)(1)(a).

 20                   However, the Court is concerned about the

 21        defendant's extensive history of substance abuse.      And

 22        the Court has recommended to the Bureau of Prisons that

 23        the defendant receive the 500-hour substance abuse

 24        treatment program that is provided by the Bureau of

 25        Prisons.




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  1                   Finally, while the defendant has obtained his

  2        GED, he has no training other than his educational

  3        experience which resulted in his GED.    And the Court

  4        will hope the defendant will take advantage of the many

  5        opportunities that he will have while with the Bureau

  6        of Prisons to further his education and to obtain

  7        vocational training.

  8                   In sum the Court finds that the sentence

  9        imposed is sufficient but not greater than necessary to

 10        comply with the purposes of 18 United States Code

 11        Section 3553(a) and 21 United States Code Section

 12        841(b)(1)(a) and to protect the public from further

 13        crimes of the defendant.

 14                   Now, Mr. Senter, you can appeal your

 15        conviction if you believe that your conviction was

 16        somehow unlawful or if there is some fundamental defect

 17        in the proceedings that was not waived by your guilty

 18        plea.

 19                   You also have a statutory right to appeal

 20        your sentence, particularly if you think the sentence

 21        is contrary to law.

 22                   Mr. Senter, you also have the right to apply

 23        for leave to appeal in what is called in forma

 24        pauperis; that is, without paying any court costs prior

 25        to filing your appeal.




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  1                    If you request, the Clerk of this Court can

  2        prepare and file a Notice of Appeal on your behalf.

  3                    In addition, Mr. Senter, with very few

  4        exceptions any Notice of Appeal must be filed within

  5        ten days of the entry of the Judgment in this case.

  6                    A Judgment of Conviction shall be promptly

  7        prepared in the form prescribed for Judgments,

  8        including sentences, under the Sentencing Reform Act.

  9                    Copies of the charging documents, Presentence

 10        Report, and Judgment of Conviction will be sent to the

 11        United States Sentencing Commission as expeditiously as

 12        possible.

 13                    Anything further we need to take up at this

 14        time on behalf of the defendant, Mr. Poston?

 15                    MR. POSTON:     No, Your Honor.

 16                    THE COURT:    Anything further, Mr. Jennings,

 17        on behalf of the government?

 18                    MR. JENNINGS:     No, Your Honor.

 19                    THE COURT:    We will stand adjourned.

 20                    THE COURTROOM DEPUTY:     All rise.   This

 21        Honorable Court stands adjourned.

 22                    (End of Proceedings.)

 23

 24

 25




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  1                          REPORTER'S CERTIFICATE

  2        STATE OF TENNESSEE     )

  3        COUNTY OF ANDERSON     )

  4               I, Lynda L. Clark, Court Reporter and Notary

  5        Public, in and for the County of Anderson, State of

  6        Tennessee at large, do hereby certify:

  7               That I reported stenographically the proceedings

  8        held in open court on April 30, 2009, IN THE MATTER OF

  9        UNITED STATES OF AMERICA VS. TOBY TOBIAS SENTER; that

 10        said proceedings in connection with the hearing were

 11        reduced to typewritten form; and that the foregoing

 12        transcript is a true and accurate record of said

 13        proceedings to the best of my knowledge, skills and

 14        ability.

 15               I further certify that I am not kin to any of

 16        the parties involved therein, nor their counsel, and I

 17        have no financial or otherwise interest in the outcome

 18        of these proceedings whatsoever.

 19               This the 5th day of October, 2009.

 20

 21                               _________________________________

 22                               COURT REPORTER & NOTARY PUBLIC

 23                               My Commission Expires:    08/24/11.

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